               Case 3:24-cv-00325-SRU           Document 33        Filed 11/14/24      Page 1 of 1
                            UNITED STATES DISTRICT COURT, DISTRICT OF CONNECTICUT
                                           CIVIL STANDARD MINUTES

     11/14/2024
Date ________________________________                        3:24-cv-00325-SRU
                                                      Case #_______________________________________________
                                                                      Stefan R. Underhill
                                                      Honorable Judge ______________________________________
         BENJAMIN FISCHMAN
______________________________________                             J. Reis
                                                      Deputy Clerk _________________________________________
                     Vs.                                                 Matthew S. Carlone
                                                      Counsel for Pla(s) _____________________________________
       JPMORGAN CHASE BANK, NA
________________________________________                                 Sylvia E. Simson & Ryan Sirianni
                                                      Counsel for Dft(s) _____________________________________
Start Time__________        4:06 PM
           3:29 PM End Time ____________                                       Corinne Thomas
                                                      Reporter/ECRO/Courtsmart _____________________________
Recess (if more than ½ hr) ________ to _________                  NA
                                                      Interpreter______________________          NA
                                                                                        Language ____________
                             37
Total Time ________hour(s) ________minute(s)                        ✔ in person
                                                      Hearing held                  by video      by telephone



HEARING AND TIME
 տ Motion/Oral Argument      ____     ‫ ܆‬Show Cause Hearing          ____    տ Evidentiary Hearing            ____
 տ Judgment Debtor Exam     ____      տ Pretrial Conference         ____    տ Scheduling Conference          ____
 տ Status Conference         ____     տ Settlement Conference      ____     տ Other: ________________        ____

MOTIONS
            to Dismiss (doc. 21)
տ Motion _________________________________filed    by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ taken under advisement
տ Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ taken under advisement
տ Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ taken under advisement
տ Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ taken under advisement
տ ORAL Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ under advisement
տ ORAL Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ under advisement
տ ORAL Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ under advisement
տ ORAL Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ under advisement
տ Brief(s) due ________________ տ Proposed Findings due ________________ Response due _______________
տ Status report due ___________________________
տ Hearing continued until _________________ at _______________

NOTES
For the reasons stated on the record, the motion to dismiss, doc. no. 21, is DENIED as to counts 1, 2, and 3 and
GRANTED as to count 4.

The stay on discovery is lifted in light of this ruling. The parties shall meet, confer, and propose a new schedule
to the Court.




Rev. 3/21/24
